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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 1:15-CV-22694-AOR

   ITZEN ISAAC CABRERA URBINA, and all
   others similarly situated under 29 U.S.C.
   216(B),

          Plaintiff,

   vs.

   ROK SOUTH, LLC; JEY HOSPITALITY
   GROUP, LLC

          Defendants.                             /

         ORDER GRANTING JOINT MOTION FOR EXTENSION OF TIME TO FILE
                MOTION TO APPROVE SETTLEMENT AGREEMENT

          THIS CAUSE came before the Court on Plaintiff Itzen Isaac Cabrera Urbina (“Plaintiff”)

   and Defendants Rok South, LLC (“Rok South”) and JEY Hospitality Group, LLC (“JEY”)

   (collectively the “Parties”), Joint Motion for Extension of Time to File Motion to Approve

   Settlement Agreement (“Motion”). The Court, having reviewed same and being otherwise duly

   advised in the premises thereof, it is ORDERED AND ADJUDGED as follows:

          1.      The Motion is Granted.

          2.      The Parties have up to and including January 26, 2016, to file their Joint Motion

   to Approve the Settlement Agreement.

               DONE AND ORDERED in Chambers at Miami, Miami-Dade County, Florida this

   _____ day of _______________________, 2015.


                                                      ALICIA M. OTAZO-REYES
                                                      UNITED STATES MAGISTRATE JUDGE

   cc: Counsel of Record via CM/ECF
